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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                    Criminal No. 98-137(4)(DSD/AJB)

United States of America,

                  Plaintiff,

v.                                                            ORDER

Alfredo Prieto,

                  Defendant.



     This matter is before the court upon the pro se motions of

defendant Alfredo Prieto for relief from judgment, for default

judgment and to proceed in forma pauperis.          Based on a review of

the file, record and proceedings herein, and for the following

reasons, the court denies the motions.



                               BACKGROUND

     On March 4, 1999, following a ten-day trial, a jury found

Prieto guilty of conspiracy to distribute methamphetamine.                   The

court sentenced Prieto to life imprisonment.           The Eighth Circuit

Court of Appeals affirmed the conviction and sentence.                See United

States v. Bahena, 223 F.3d 797, 805–06, 811 (8th Cir. 2000).                  On

September 14, 2001, Prieto moved for relief under 28 U.S.C. § 2255,

arguing that his sentence was illegal under Apprendi v. New Jersey,

530 U.S. 466 (2000), and that he received ineffective assistance of
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counsel.    The court denied the motion on April 22, 2002.              See ECF

No. 681. Prieto appealed. The Eighth Circuit denied a certificate

of appealability and dismissed the appeal.            See ECF No. 706.

      Beginning in May 2010, Prieto sought “any plea offers extended

or   proposed,    correspondence,    memos     and   notes”     from   the     U.S.

Attorney under the Freedom of Information Act (FOIA).               As a result

of his FOIA request, Prieto received a letter from the assistant

U.S. attorney to defense counsel for the eighteen co-defendants in

his case.

      On February 25, 2011, Prieto moved for relief from the denial

of his § 2255 motion in 2002.        Prieto argues that the court erred

in denying his previous § 2255 motion because his defense counsel’s

failure to tell him about the letter constitutes ineffective

assistance.      Prieto also argues that the government should have

brought the letter to the court’s attention in 2002, and that he

received ineffective assistance because his defense counsel did not

understand    the   U.S.   Sentencing     Commission     Guidelines.            The

government timely responded.          See ECF No. 890. The court now

considers the motion.



                               DISCUSSION

I.    August 14, 1998 Letter

      As an initial matter, the court considers the letter from the

government to all defense counsel in this matter, because it forms


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the basis of the instant motion.1        Prieto styles the letter as a

“proposed plea offer.”      Despite Prieto’s label, it is not a plea

offer, and cannot be construed as a plea offer.          The letter states:

                 A number of defendants and potential
            defendants have contacted me about pleading
            guilty, and cooperating with the government.
            The purpose of this letter is to let you know
            my intentions with respect to negotiating plea
            agreements in the above-captioned matter.

                 I will be willing to discuss the
            possibility of the government making downward
            departure motions to cooperating defendants,
            when appropriate, under both § 5K1.1, and 18
            U.S.C. § 3553(e), until September 1, 1998....
            After September 1, 1998, I will be willing to
            discuss the possibility of downward departure
            motions only under § 5K1.1, if appropriate.

Pet’r’s Mot. 36–37.    The letter states several times that it is not

an offer or a promise of a departure, but merely notice of when the

government would be willing to discuss departures.                  Id.      The

willingness of the government to entertain plea offers or offers of

assistance is not unique to this case.         As a result, its contents

have no bearing on Prieto’s conviction, sentence or the assistance

rendered by his defense counsel.

II.   Successive Petition

      “It is well-established that inmates may not bypass the

authorization requirement of 28 U.S.C. § 2244(b)(3) for filing a

second or successive § 2254 or § 2255 action by purporting to


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       The court also first examines the substance of the letter in
the interest of justice, because the present motion is barred under
28 U.S.C. § 2255(h) and Federal Rule of Civil Procedure 60.

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invoke some other procedure.”        United States v. Lambros, 404 F.3d

1034, 1036 (8th Cir. 2005) (citation omitted).              Prieto’s present

claims all concern his acceptance of his lawyer’s advice to proceed

to trial.    The issues all were raised, or could have raised, in his

direct appeal or previous § 2255 petition.            See United States v.

Matlock, 107 F. App’x 697, 698 (8th Cir. 2004).                 Prieto did not

obtain certification from the Eighth Circuit to file a successive

§ 2255 petition.       Therefore, dismissal is warranted because the

instant motion is a successive petition barred by § 2255(h).

III.    Rule 60(b)

       Even if the instant motion were not in essence a § 2255

petition, the motion is untimely under Rule 60.            Rule 60(b) allows

relief for:

             (1) mistake,    inadvertence,        surprise,       or
             excusable neglect;

             (2) newly discovered evidence that, with
             reasonable diligence, could not have been
             discovered in time to move for a new trial
             under Rule 59(b);

             (3) fraud     (whether    previously    called
             intrinsic or extrinsic), misrepresentation, or
             misconduct by an opposing party;

             (4)   the judgment is void;

             (5) the judgment has been satisfied, released
             or discharged; it is based on an earlier
             judgment that has been reversed or vacated; or
             applying it prospectively is no longer
             equitable; or

             (6)   any other reason that justifies relief.


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Fed. R. Civ. P. 60(b)(1)–(6).           Motions brought under subsections

(b)(1) through (b)(3) are subject to a one-year limit, and motions

under subsections (b)(4) through (b)(6) “must be made within a

reasonable time.”     Id. R. 60(c)(1).        As the Seventh Circuit notes,

the enumerated grounds of subsection (b) are mutually exclusive,

because permitting relief under subsection (b)(6) when another

ground   applies     would    “render       the   one-year     time     limitation

meaningless.”      Arrieta v. Battaglia, 461 F.3d 861, 865 (7th Cir.

2006).

      In the present case, Prieto argues that the August 14 letter

is “additional evidence of trial counsel’s deficient performance”

only now “brought to light.”            Def.’s Mot. 10.            Prieto further

argues that the government “committed fraud on the court” by

failing to bring the letter to the attention of Prieto or the

court.    Id. at 5.      As a result, subsections (b)(2) and (b)(3)

encompass Prieto’s claims, and the one-year limit applies.                         The

previous § 2255 judgment became final in February 2003, when the

time period to file for a writ of certiorari expired.                 As a result,

the   present   motion   is   well   past     the   one-year       limit   of     Rule

60(c)(1), and dismissal is warranted.

      Moreover, the motion also fails under subsection (b)(6). Rule

60(b)(6) only applies when a movant demonstrates “extraordinary

circumstances” justifying reopening a final judgment.                 Gonzalez v.

Crosby, 545 U.S. 524, 535 (2005). Nearly nine years passed between


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the judgment in the first § 2255 motion and the instant motion.

Such a long delay cannot be construed as reasonable.                 In short,

Prieto fails to show that extraordinary circumstances exist in this

case.      Therefore, dismissal is also warranted under Rule 60.

IV.   Application to Proceed In Forma Pauperis

      No filing fee is due, and the court denies a certificate of

appealability.      Therefore, the application to proceed in forma

pauperis is moot.

V.    Motion for Default Judgment

      Prieto also moves for default judgment, arguing that the

government failed to respond to his motion for relief as ordered by

the court.      Prieto is incorrect.       The government timely responded

on April 20, 2011.       See ECF No. 890.       Therefore, this motion is

moot.



                                CONCLUSION

      Accordingly, based on the above, IT IS HEREBY ORDERED that:

      1.      The motion for relief from judgment [ECF No. 886] is

denied;

      2.      The motion for default judgment [ECF No. 891] is denied

as moot;

      3.      The application to proceed in forma pauperis is denied as

moot; and




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     4.     Pursuant   to   28   U.S.C.   §   2253,   the   court    denies   a

certificate of appealability.



LET JUDGMENT BE ENTERED ACCORDINGLY.


Dated:    July 19, 2011


                                          s/David S. Doty
                                          David S. Doty, Judge
                                          United States District Court




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